      Case 4:11-cr-00200-WTM-CLR Document 291 Filed 04/13/12 Page 1 of 11

                                                           U.S. D;Stri' t UCUIT

                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE SOUTHERN DISTRICT OF GEORGI2A 01 R 13 P M 3:57

                              SAVANNAH DIVISION
                                                         CL
UNITED STATES OF AMERICA

WPM                                             CASE NO. CR411-200

MARIO LEONARDO FERRER,

         Defendant.


                                  ORDER

         Before the Court is Defendant Mario Leonardo Ferrer's

Motion to Suppress Wiretap Evidence (Doc. 102) and the

Magistrate Judge's Report and Recommendation (Doc. 230), to

which objections were filed (Doc. 243) . After a careful de

novo review of the record in this case, the Court finds

Defendant's objections without merit and concurs with the

report and recommendation. Accordingly, the report and

recommendation is ADOPTED as the Court's opinion in this

case and Defendant's motion is DENIED.

         The Magistrate Judge recommended that the motion be

denied because the Government showed necessity when seeking

the wiretap. (Doc. 230.) Defendant objects to the report

and recommendation on the grounds that the Government did

not have a sufficient showing of necessity when relying on

an affidavit to obtain a wiretap.                    (Doc. 243 at 1.)

Defendant's argument is that the Government did not exhaust
    Case 4:11-cr-00200-WTM-CLR Document 291 Filed 04/13/12 Page 2 of 11




available conventional investigative techniques before

resorting to the wiretap and that a "scant" forty-six days

elapsed between learning of Orestes Ferrer's' existence and

the issuance of the wiretap. (Doc. 102 at 1-2.)

       18 U.S.C. § 2518(1) (C) requires the Government to

establish necessity for a wiretap by any of three methods—"a

full and complete statement as to whether or not other

investigative procedures have been tried and failed or why

they reasonably appear to be unlikely to succeed if tried or

to be too dangerous." The affidavit in support of a warrant

"must simply explain the retroactive or prospective failure

of several investigative techniques that reasonably suggest

themselves." United States v. Van Horn, 789 F.3d 1492, 1496

(11th Cir. 1986). This requirement does not "foreclose

electronic surveillance until every other imaginable method

of investigation has been unsuccessfully attempted; however

it does require the Government to show why alternative

measures are inadequate for this particular investigation."

United States v. Perez, 661 F.3d 568, 581 (11th Cir. 2011)

(internal quotations omitted); see also United States v. De

La Cruz Suarez, 601 F.3d 1202, 1214 n.7 (11th Cir. 2011)


1
  The wiretap warrant was issued for Defendant's brother and
co-Defendant Orestes Ferrer. For purposes of this order,
Mario Ferrer will be referred to as "Defendant" and Orestes
Ferrer will be referenced simply as "Ferrer."

                                    2
 Case 4:11-cr-00200-WTM-CLR Document 291 Filed 04/13/12 Page 3 of 11




(finding that the "necessity" requirement was met despite

the Government's use of confidential informants and

monitoring). In fact, "a comprehensive exhaustion of all

possible investigative techniques is not necessary before

applying for a wiretap." De La Cruz Suarez, 601 F.3d 1202,

1214 (11th Cir. 2010) (quoting United States v. Alonso, 740

F.2d 862, 868 (11th Cir. 1984)); see also United States v.

Hyde, 574 F.2d 856, 867 (5th Cir. 1978).2 To determine

necessity, courts should evaluate wiretap affidavits "in a

'common sense fashion,' and 'the determination of when the

Government has satisfied [the statutory] requirement must be

made against flexible standards, and . . . each case must be

examined on its own facts.' " United States v. Miller, 431

F. App'x 847, 853 (11th Cir. 2011) (quoting Hyde, 574 F.2d

at 867)
       Defendant objects to the report and recommendation on

the grounds that the wiretap was merely "the initial step in

the criminal investigation" and that the Government failed

to prove the wiretap's necessity. (Doc. 243 at 6.)

Defendant avers that the Government's affidavit neither was

sufficiently related to the targeted individuals nor


2 In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th
Cir. 1981) (en banc), the Eleventh Circuit adopted as
binding precedent all decisions of the former Fifth Circuit
handed down prior to October 1, 1981.

                                  3
 Case 4:11-cr-00200-WTM-CLR Document 291 Filed 04/13/12 Page 4 of 11




adequately justified the departure from normal investigative

procedures. (Id. at 11.) Also, Defendant's objections go

to great length analogizing this case to that of United

States v. Gonzalez, Inc., 412 F.3d 1120 (9th Cir. 2005),

which affirmed a district court's suppression of a wiretap

where necessity was not established. (Id.)

    After a de novo review of the affidavit and record in

this case, the Court concurs with the report and

recommendation. Evaluating the Government's affidavit under

Eleventh Circuit precedent, the Court finds that the

affidavit clearly outlines the wiretap's necessity by

detailing other investigative procedures that have already

been tried (Doc. 243-1 ¶¶ 89, 93, 94), and why they are both

unlikely to succeed (id. ¶¶ 83, 87, 88, 89, 90, 96) and

dangerous (id. ¶¶ 83, 87, 92).          Simply, the Government's

affidavit    reasonably      outlines      numerous      alternative

investigative measures have not and would not succeed,

whether because of practical concerns (id. ¶ 89),

confidential informant limitations (id. ¶ 83), confidential

informant safety (id.), risk of exposing undercover

infiltration (id. ¶¶ 87, 88), safety of undercover agents in

potentially dangerous situations (id. ¶ 88), alerting

conspirators of the investigation (id. ¶ 93), and technical

limitations (id. ¶ 94).         See Perez, 661 F.3d at 1214.


                                  4
 Case 4:11-cr-00200-WTM-CLR Document 291 Filed 04/13/12 Page 5 of 11




Because a comprehensive exhaustion of all investigative

techniques is not necessary, see De La Cruz, 601 F.3d at

1204, the Court finds that the Government's affidavit

sufficiently outlines a wide range of techniques attempted

or considered.

     Additionally, the Government has explained that the

informants had little information available on the inner

workings of the conspiracy because the informant "knows very

little about [the cocaine trafficking activities]" and

"would not be in a position to fully penetrate the

organization or its sources of supply." (Doc. 243-1 ¶J 83,

84.) See Skills v. United States, 395 F. App'x 570, 572-73

(11th Cir. 2010). Members of the group were also "cautious

and careful about possible law enforcement activity and

hence an undercover agent will not penetrate very far into

the organization" (id. ¶ 87) thereby frustrating any

attempts to infiltrate the conspiracy. Skills, 395 F. App'x

at 572-73. Any resort to either a search warrant or a grand

jury investigation was premature and would significantly

jeopardize the ongoing investigation.          See Skills, 395 F.

App'x at 572-73.

     In a case with as broad an investigation set-up as the

one at present, it is the Government who sets the scope of

its investigation and the Government's agents can cast a


                                 5
 Case 4:11-cr-00200-WTM-CLR Document 291 Filed 04/13/12 Page 6 of 11




wide investigatory net, hoping to learn the full extent of a

conspiracy. See United States v. Miller, 431 F. App'x 847,

853 (11th Cir. 2011) (finding affidavit sufficiently showed

necessity where an "investigation sought to penetrate the

drug activity and determine its entire scope, including

source of supply, transportation routes, stash houses, and

assets purchased, as well as the participants' identities").

At present, it was necessary to use a wiretap to uncover the

full scope of the conspiracy because conventional techniques

had neither succeeded nor were likely to succeed in aiding

the investigative efforts.

     Finally, Defendant relies on a Ninth Circuit Court of

Appeals case to support his contention that the wiretap

should be suppressed. In Gonzalez, the Ninth Circuit

affirmed a district court order suppressing a wiretap of a

public bus company being investigated for alien smuggling.

Gonzalez, 412 F.3d at 1106. The Ninth Circuit held that the

Government failed to establish the necessity of the wiretap

by showing that normal investigative procedures had been

both adequately utilized and exhausted. Id. at 1114. The

investigators conducted five days of pen register analysis,

five days of trap-and-trace analysis, a preliminary inquiry

to place an undercover agent at one of the offices, and

limited physical surveillance of the premises. Id. at 1108.


                                  6
 Case 4:11-cr-00200-WTM-CLR Document 291 Filed 04/13/12 Page 7 of 11



Additionally, the Ninth Circuit found that the Government

failed to show that unutilized investigative procedures were

unlikely to succeed. Id. at 1114. The Gonzalez affidavit

stated that video or physical surveillance was not likely to

produce useful information. However, the Ninth Circuit

opined that surveillance could have identified individuals

coming and going. Id. The Ninth Circuit also thought that

the Gonzalez affidavit suggested that the "use of

[confidential informants] or undercover agents . . . was a

potentially productive,        but unutilized tool."              Id.

     However, Gonzalez also aptly recognized that "the

necessity requirement should not be interpreted to require

law enforcement to exhaust every possible technique before

resorting to wiretapping, but to ensure that in the usual

case wiretapping is not used as the first meaningful step in

an investigation." Gonzalez, 412 F.3d at 1113 (citations

omitted)
     Even though the Ninth Circuit upheld suppression of

wiretap evidence in Gonzalez, which contains some

similarities to the case before the Court, Gonzalez is not

binding on this Court. Moreover, the Court finds Gonzalez

inapposite to the present case. Unlike Gonzalez, the

Government in this case used confidential informants and

undercover agents as part of the initial investigation.


                                  7
 Case 4:11-cr-00200-WTM-CLR Document 291 Filed 04/13/12 Page 8 of 11




(Doc. 243-1 ¶j 83-86, 87-88.) While there were no

confidential informants or undercover agents in Gonzalez, in

this case the confidential informants and undercover agents

were able to provide "valuable" initial information, but

unable to either gather additional information or

participate further in the drug trafficking activities.

(Id.) The Government's affidavit also stated that the

undercover agents were unable to infiltrate or participate

further in the transactions being undertaken that would "in

any meaningful way [ ] in itself achieve the goals of the

investigation"      (Id. ¶ 87).         Additionally, unlike in

Gonzalez, there were concerns about further or increased

contact posing "unacceptable safety risk[s]" to a

confidential informant (id. ¶ 83) as well as being "unlikely

[to succeed] and potentially dangerous" to undercover agents

(id. ¶ 88). Simply, the Government utilized two traditional

investigative methods—confidential informants and undercover

agents—to try and infiltrate the larger drug trafficking

ring in which Ferrer was a direct part, but were unable to

safely and plausibly further continue to gather additional

information by these methods. Contra Gonzalez, 412 F.3d at

1114.

        Also, unlike in Gonzalez where there was limited

physical surveillance of the premises, here Government


                                  8
 Case 4:11-cr-00200-WTM-CLR Document 291 Filed 04/13/12 Page 9 of 11




agents "have conducted surveillance on the [sic] Ferrer on

numerous occasions." (Doc. 243-1 ¶ 89.) The Government

affidavit also provides that the use of a pole camera "would

be of little or no value to the investigation" because it

will only be able to observe what takes place outside of

the residence, and not inside." (Id.) Further, because

Ferrer lives in a gated community, the Government has shown

that such normal investigative techniques, if continued, are

"likely to alert [the drug traffickers] that their

activities are being monitored." (Id. ¶ 90.)

     Similarly, the Court agrees with the Government's

affidavit that any search or arrest warrants, grand jury, or

witness interviews would be premature. (Id. ¶ 92.) While

the Ninth Circuit in Gonzalez found that "the affidavit's

terse rejection" regarding grand jury subpoenas or search

warrants was improper because they "could have also aided

the investigation," Gonzalez, 412 F.3d at 1114, the

Government's affidavit in this case appropriately outlines

the necessity of the wiretap by explaining the drawbacks of

such measures. (Doc. 243-1 ¶ 92.) These measures are

premature because "the investigation has not yet identified

all of the locations where the [subjects] and their

accomplices will keep their controlled substances, money or

other evidence of their criminal activity," (Doc. 243-1
 Case 4:11-cr-00200-WTM-CLR Document 291 Filed 04/13/12 Page 10 of 11




¶ 92) 1 and "execution of search warrants at this time might
result in flight by the (subjects and] destruction of

evidence" (id.). Applying the necessity principles in a

common sense fashion, see Miller, 431 F. App'x at 853, any

use of search or arrest warrants, grand jury, or witness

interviews are likely to frustrate the overall purposes of

the investigation and are unlikely to advance the

investigation any meaningful degree.

     Lastly, unlike Gonzalez, the Government's affidavit

suggested that a prior trash pull was unsuccessful and

further pulls would prove futile. "Based on information

provided by previous interceptions . . . it is unlikely a

refuse inspection of the [subjects'] trash would reveal any

information about the members of the organization, or their

respective roles." (Doc. 243-1 ¶ 96.) The Court is not

persuaded by Defendant's argument that the Government could

have been more diligent in conducting the trash pulls of a

house in a gated community without alerting the security

guard, neighbors, or the drug traffickers themselves.

     For the foregoing reasons and those outlined in the

report and recommendation, Defendant's motion to suppress

(Doc. 102) must be denied. The Court finds that the

Government showed necessity in seeking a wiretap because it

made several attempts at various traditional investigative


                                  10
 Case 4:11-cr-00200-WTM-CLR Document 291 Filed 04/13/12 Page 11 of 11




methods before ultimately seeking the wiretap warrant. The

wiretap was hardly used—as Defendant incorrectly contends—

'as [the Government's] initial investigative technique."

(Doc. 243 at 8-10.) Accordingly, the report and

recommendation is ADOPTED as the Court's opinion in this

case and Defendant's motion is DENIED .3

     SO ORDERED this            day of April 2012.




                                       4_rr^_
                                  WILLIAM T. MOORE, JR.
                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF GEORGIA




   Defendant has also requested—and was properly denied—a
Franks hearing. (Doc. 102 at 15.) Under Franks v.
Delaware, 438 U.S. 154 (1954), a defendant is entitled to
peer behind an affidavit in support of a wiretap order where
he makes a substantial preliminary showing that the affiant
knowingly and intentionally, or with a reckless disregard
for the truth, included misleading information that was
material to the finding of necessity. United States v.
Wilson, 341 F. App'x 239, 243-44 (11th Cir. 2009) ; United
States v. Novaton, 271 F.3d 968, 986 (11th Cir. 2001)
After careful consideration, the Court agrees with the
report and recommendation that 'any ambiguities [read into
the affidavit] were simply not material to the necessity
finding" and that Defendant has not 'come forward with
extra-affidavit evidence suggesting that [the Government's
affidavit] made material misrepresentations."   (Doc. 230 at
13.)

                                  11
